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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
BRENDA BROWN, )
Plaintiff, Civil Action No.: 1:16-cv-11152
Vv. Judge Marvin E. Aspen
KELLY SERVICES, INC, Magistrate Judge Sheila M. Finnegan
Defendant. '

DEFENDANT’S RESPONSE TO PLAINTIFF’S
STATEMENT OF ADDITIONAL FACTS
JUSTIFYING THE DENIAL OF SUMMARY JUDGMENT

NOW COMES Defendant, KELLY SERVICES, INC., by and through its attorneys,
POTTER, DeAGOSTINO, O’DEA & PATTERSON and WILSON ELSER MOSKOWITZ
EDELMAN & DICKER LLP, and in response to Plaintiff's Statement of Additional Facts Justifying
the Denial of Summary Judgment, hereby states as follows:

1. Brown obtained her Bachelor's Degree from DeVry University and sought a career
in human resources and talent acquisition. [Def. Exhibit A, Brown Dep p. 63 In. 23 to p. 64 In.1; p.
68 In. 15-19]
RESPONSE:

Admitted.

2. After obtaining her bachelor's degree from DeVry University, she worked for DeVry
as a recruiter and admissions advisor. Although the position was full-time and paid a salary of

$20.91 per hour, it was unsatisfying to Brown because she did more sales than recruiting. [Def.

Exhibit A, Brown Dep. P. 68 In. 5 to p. 69 In. 19]

 
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RESPONSE:

Denied to the extent that the paragraph states Plaintiff was working as a

recruiter. The cited testimony states that she wanted to work as a recruiter but

that role did not exist and she did not like the admissions job at DeVry

University because it was like a sales job (Def. Exhibit A, Brown Dep., p. 68, In

5- p 69, In 19).

3. While still employed at DeVry, Brown began speaking to Jennifer Lammers in March
2016 about a recruiting career at Kelly Services. Lammers is the branch manager of Kelly Services’
Romeoville and Frankfort offices [Def. Exhibit D, Lammers p. 18 In. 16 to p. 19 In. 15]
RESPONSE:

Denied that the testimony reflects any conversation about a “recruiting career

at Kelly Services.” The testimony reflects that Lammers discussed the position

of “[a]n in house temporary recruiter” at Kelly (Def. Exhibit D, Lammers Dep.,

p. 18, In 16 - p. 19, In 1).

4. Kelly Services needed more recruiters in 2016 because the year was "crazy". The job
market was very tight and Defendant needed more people brought through the door to fill its
accounts that needed forklift drivers and machine operators. [Def. Exhibit D, Lammers p. 20 In 7-13]
RESPONSE:

Admitted.

5. Kelly Services was hiring recruiters because it expected continuous growth. It did not
base the success of its business around peaks that come and go. [Def. Exhibit E, Hink Dep p. 18 In
17 to p. 19 In. 14]

RESPONSE:
Denied that the testimony states Kelly was hiring recruiters. Ms. Hink testified

that when hiring a temporary in house employee there is never a guarantee of
full time employment, that there was no specific duration for Plaintiff's

 
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assignment, and that the length of the assignment would be based on business
needs (Def. Exhibit E, Hink’s Dep., p. 17, In 2 - 9).

6. After approximately three telephone conversations, Lammers and Brown met to
discuss the recruiting position. In these conversations, Brown discussed her desire for a career in
human resources. Lammers explained that although the position was not human resources, recruiters
have a lot of human resource responsibilities that can also get Brown to the next level. [Def. Exhibit
A, Brown Dep p. 139 In 1-13; Def Exhibit D, Lammers Dep. p. 21, In. 9-16]

RESPONSE:

Admitted.

7. Brown informed Lammers she did not want a temporary position with a limited
duration but wanted to advance her career by becoming a full time recruiter at Kelly Services. [Def
Exhibit A, Brown Dep p. 69 In. 20-24; Def Exhibit D, Lammers Dep. p. 20 In. 24 to p. 21 In. 6].
RESPONSE:

Denied that the testimony indicates Plaintiff wanted to be a full time recruiter.

Lammers testified that Plaintiff only indicated she wanted to be a full time

employee of Kelly, not a recruiter (Def. Exhibit D, Lammers Dep., p. 20, In 24 -

p. 21, In 2).

8. Lammers explained to Brown that although the position was a temp-to-hire position,
Brown would eventually be made a full time salaried employee, but Lammers could not commit to
a specific date when that would occur.[Def Exhibit A, Brown Dep p. 139 In. 21 to p. 140 In. 12]
RESPONSE:

Admitted. In addition, Ms. Hink testified that when hiring a temporary in

house employee there is never a guarantee of full time employment, that there

was no specific duration for Plaintiff's assignment, and that the length of the

assignment would be based on business needs (Def. Exhibit E, Hink’s Dep., p.
17, In 2 - 9).

 
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9. Lammers believed Brown was very good and knew she had to get Brown more money
than the $14 to $16 per hour they were paying at that time. They agreed to $17 per hour for a 40 hour
work week. [Def. Exhibit D, Lammers Dep p. 19 In. 9-20; p. 22, In. 5-11]

RESPONSE:

Admitted.

10. Brown was the only person Lammers had talked to about the position and had been
waiting for Brown. [Def. Exhibit D, Lammers Dep p. 24 5-8].

RESPONSE:

Admitted.

11. | Lammers believed Brown had good performance and did not have any criticism of
her performance. Similarly, no one ever complained about Brown's performance and she had a good
working relationship with other employees. [Def. Exhibit D, Lammers p. 39 In 17 to p. 30 In. 13]
RESPONSE:

Admitted.

12. Defendant's Answer to the Complaint filed in this action denied the allegation that
Brown performed her job duties in a satisfactory manner to warrant continued employment. That
answer was false and Defendant concedes there was nothing wrong with Brown's performance. [PIf.
Exhibit A-1, Complaint and Answer A-2, 8; PIf Exhibit B, Def. Answer to Interrogatories, No. 4.]
RESPONSE:

Defendant admits that at the time it filed its answer it was still gathering

information regarding Plaintiff's employment with Kelly and her retaliation

claim and responded to the allegation based on the information available at the

time. This point is stated in Defendant’s response to an interrogatory about
Plaintiff's job performance where it indicates that Kelly is not aware of any

 
 

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issues with Plaintiff's job performance (PIf Ex. B, Defendants Answers to
Interrogatories, No. 4).

13. Brown observed her co-worker, Nancy Spisak ignoring African Americans while

getting up to greet and help non-African Americans. [Def. Exhibit A, Brown dep p. 103 In. 5-7]

RESPONSE:

Admitted. In addition, Plaintiff agreed that there were some interactions Spisak
had with African American applicants that bothered her and there were other

interactions Spisak had with African Americans that did not bother her (Def.
Exhibit A, p. 79, In 18-23).

14. Spisak would assisted some applicants with their resume but told some African-
Americans to go to the library to make their resume before they could apply. [Def. Exhibit A, Brown
Dep p. 100 In. 19 to p. 102 In. 3]

RESPONSE:

Admitted. In addition, Plaintiff agreed that there were some interactions Spisak
had with African American applicants that bothered her and there were other

interactions Spisak had with African Americans that did not bother her (Def.
Exhibit A, p. 79, In 18-23).

15. Plaintiff observed Spisak being rude and nasty to African Americans, but not with
other job applicants. [Def. Exhibit A, Brown Dep p. 102 In. 22 to p. 103 In. 2; p. 104 In. 5-12]

RESPONSE:

Denied the cited testimony states the allegation set forth. Plaintiff's did not
testify that Spisak was nasty towards others, but that she had a nasty attitude.

Also, nowhere in the cited testimony does Plaintiff state that Spisak did not
exhibit the same traits with other applicants.

16. At the initial meeting between Brown and Lammers on June 20, 2016, Brown does

not recall using the term "race discrimination" but she did mention "race", "African Americans" and

"blacks" in the meeting to get Lammers to "understand the issue that Brown was seeing Spisak do

 
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to African-Americans." The gist of that conversation was about discrimination whether or not the
actual word was used. [Def. Exhibit A, Brown Dep p. 96 In 12-22; p. 177 In 7-23]
RESPONSE:

Admit Plaintiff testified as indicated.

17. | Lammers denies there was any mention of race in the June 20th meeting between her
and Brown. [Def. Exhibit D, Lammers Dep. p. 41 In. 12 to p. 42 In 17; p. 44 In 15-21]
RESPONSE:

Admitted.

18. After the initial meeting Lammers called everyone in, including Spisak and Conyers,
to discuss interviewing and not treating anyone differently. [Def. Exhibit D, Lammers Dep. p. 52 In
7-12]

RESPONSE:

Admitted.

19. In this meeting with everyone present, Brown specifically used the term
"discrimination". [Def. Exhibit A, Brown Dep. p. 97 In 7-13]

RESPONSE:

Admit that Plaintiff testified as indicated.

20. Spisak admits that Brown made a complaint to management about discrimination and
there was a meeting in late June. [PIf. Exhibit C, IDES Transcript p. 13 In. 4-15]

RESPONSE:
Denied as stated. Spisak indicated that Plaintiff made a report to their

manager, Lammers, not that she reported it to any management employee above
the branch level (PIf Exhibit C, Transcript, p. 13, In 7-8).

 
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21. | Lammers denies that Brown ever complained about discrimination or that the gist of
Brown's complaint during the meeting was that the African-American were being treated unfairly.
According Lammers' testimony, there was nothing in the meeting that gave her the indication that
Brown was complaining about discrimination. [Def Exhibit D, Lammers Dep. p. 51 In. 2-18]
RESPONSE:

Admitted.

22. On the same morning after the June 20th meeting, Lammers emailed Brown,
suggesting that she work at the Frankfort office 1-2 days a week to get extra training. [Plf. Exhibit
D, June 20, 2016 email, p. Brown00023-24]

RESPONSE:

Admitted.

23. Following the meeting on June 20th, Brown felt Lammers was no longer as open to
her as she had been and Spisak was hostile and rude while Brown was in the Romeoville office.[Def.
Exhibit A, Brown Dep p. 33 In 5-11; p. 38 In 17 to p. 40 In. 22; p. 52 In 20- 24]

RESPONSE:

Denied as stated. Nowhere in the cited testimony does Plaintiff state that Spisak
was rude to her.

24. Brown was sent to work at the Frankfort office on June 23, 24 and June 27, 2016.
[Def. Exhibit A, Brown Dep p. 54 In. 2-15, p. 55 In. 13-18]
RESPONSE:

Admitted.

 
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25. Following the meeting on June 20th, Brown felt she was no longer wanted and was
being forced out. [Def. Exhibit A, Brown Dep p. 39 In. 11 to 40 In. 22]

RESPONSE:

Admit Plaintiff testified as indicated.

26. On Friday, June 24th, Brown wrote Lammers an email saying she was not going to
quit or giving her two week notice. [PIf Exhibit D, June 24, 2016 Email, p. Brown00022-23]
RESPONSE:

Admitted.

27. | OnMonday, June 27th, Brown meet with Lammers at the Frankfort office and voiced
her complaints about how Spisak was being hostile towards her after the meeting on June 20th. In
response, Lammers asked Brown if she just wanted to give her two week notice. Brown replied that
she can't give a two-week notice because she did not have another job and was banking on this job
to work. [Def. Exhibit A, Brown Dep p. 47 In 10 to p. 48 In. 2]

RESPONSE:

Admit Plaintiff testified as indicated.

28. Lammers denies that Brown ever complained that Spisak was treating her
disrespectfully.[Def. Exhibit D, Lammers Dep p. 72 In 8-15]

RESPONSE:
Admitted.
29. Spisak initially stated the reason for Brown's termination was due to lack of work.[PIf

Exhibit C, IDES Transcript p. 12, In 13-16]

 
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RESPONSE:

Denied as stated. The statement fails to place the statement from Spisak in

context of the hearing. While the words “lack of work” were stated first, two

lines later Spisak explained that it was due to budget reasons or lack of work to

justify her position as an in house temporary (PIf Exhibit C, Transcript, p. 12,

In 16-22).

30. At the time of her termination, there was work for Brown to perform.[Def. Exhibit
D, Lammers Dep p. 74 In 10-11; Def Exhibit E, Hink Dep 32, In 20-24]

RESPONSE:

Admitted. In addition, Lammers testified that while she had work for Plaintiff

business was down in the Chicagoland territory (Def. Exhibit A, Brown Dep.,

p- 73, In 22 - p. 74 In 1). Similarly, Hink testified that while there was work for

Brenda, she had a directive to end in house temporary positions that she needed

to follow (Def. Exhibit E, Hink Dep., p. 30, In 22 - p. 31, In 2; p. 32, In 20 - 24).

31. Hink testified that the reason for letting the temporary in-house recruiters go was
"simply because of the ebb and flows of our business." Hink did not know specifically what the ebb
and flow was that caused the directive to terminate the in-house temps, simply that "business drove
the decision. That's - I don't have any other answer other than that" [Def. Exhibit E, Hink Dep p. 28
In 21 to p. 29 In. 3; p. 33 In. 20 to p. 34 In. 6; p. 40 In. 2-13]

RESPONSE:

Admitted. In addition, Hink testified that the reason she could not provide

specific information about why the decision was made was because she was not

privy to the conversation between Beckner and Sowers (Def. Exhibit E, Hink

Dep., p. 33, In 20 - p. 34, In 6).

32. The decision to let temps go is not made on a branch by branch basis, rather it is

whether the business for the area is growing or declining. [Def Exhibit E, Kink Dep p. 38 In 19 to

p. 39 In. 15]

 
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RESPONSE:

Admitted.

33. | The Defendant has no documents, including communication, relating to the decision
to end the Plaintiff's assignment due to a workforce reduction in the Chicago market. [PIf Exhibit
B, Defendant's Answers to Interrogatories No. 5 (d); PIf Exhibit G, Defendant's Response to
Plaintiffs Document Request, Nos. 23-25]

RESPONSE:

Admitted.

34. Defendant's Initial Rule 26a Disclosures served March 13, 2017 disclosed Lammers
as a person having knowledge regarding Plaintiff's employment at Kelly Services. It did not disclose
Sower, Hink and Beckner in its Initial Disclosures. [PIf Exhibit E, Defendant's Initial Rule 26a
disclosures, 42]

RESPONSE:

Admitted. In addition, Hink and Beckner were identified in supplemental

disclosures dated May 17, 2017 as witnesses believed to have information

regarding the reason for ending Plaintiff’s assignment as an in-house recruiter

(PIf Exhibit F, Defendant’s Supplemental Disclosures, p. 2).

35. The Defendant's Answers to Interrogatories, served April 17, 2017, identified Hink
and Beckner as the only participants in the decision to end Plaintiff's job assignment. [Plf Exhibit
B, Defendant's Answers to Interrogatories No. 5 (a)]

RESPONSE:
Admitted. In addition, Defendant’s Response to Plaintiff’s First Set of

Interrogatories No. 1 indicates that the individual providing the information to
respond to the interrogatories was Jennifer Lammers, who was told by Hink

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about the end of Plaintiff’s assignment (Plt Exhibit B, No. 1; Def. Exhibit D, p.
60. In 11-13; p. 73, In 1-3, In 11-14).

36. | Hink and Beckner were disclosed in the Defendant's Supplemental Rule 26a
disclosures , served May 17, 2017, as having information regarding the reason for ending Brown's
assignment as an in-house Temporary Recruiter at the Romeoville Branch. Sower was not disclosed
in any capacity. [PIf Exhibit F, Defendant's Supplemental Rule 26a Disclosures, {2]
RESPONSE:

Admitted.

37. After Brown was terminated on July 1, 2016, other in-house recruiters were hired in
the Midwest region sometime before November 29, 2019 while Hink still served as the Area
Manager. [Def. Exhibit E, Hink Dep. p. 10 In. 10-13, p. 37 In. 1-11]

RESPONSE:

Denied as stated. Admitted that Hink testified other temporary in-house

recruiters were hired after Plaintiff's assignment ended. However, Plaintiffwas

not terminated on July 1, 2016. Her assignment as an in-house recruiter ended

that day. Plaintiff was offered subsequent positions but did not wish to pursue

those positions (Def. SOF No. 55-62).

38. Jason Dehn and Bryan Ramirez were disclosed in the Defendant's Answers to
Interrogatories, served April 17, 2017 as the only individuals having the same job title as Plaintiff
who had their assignments terminated by Defendant for the same or similar reason that the Plaintiff
assignment was terminated. [PIf Exhibit B, Defendant's Answers to Interrogatories No. 5 (c)].

RESPONSE:

Admitted.

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39. Except for Brown, no other employee at the Romeoville location has made a formal
or informal complaint of discrimination from January 2012 up to the present. [PIf Exhibit B, Def.
Answers to Interrogatories No. 6]

RESPONSE:

Admitted.

Dated this 27" day of October, 2017.

/s/Rick J, Patterson

Rick J. Patterson (Pro Hac Vice)

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CERTIFICATE OF SERVICE
The undersigned attorney hereby certifies that on October 27, 2017, she caused the foregoing pleading
to be filed with the court by electronic filing protocols using the CM/ECF system, and that a copy of
the same will therefore be electronically served upon all attorneys ofrecord registered with the court’s
CM/ECF system.

/s/RICK J. PATTERSON

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